Form ntcconfclos

211 West Fort Street
Detroit, MI 48226


                                    UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Michigan

                                               Case No.: 21−47210−mlo
                                                     Chapter: 11

In Re: (NAME OF DEBTOR(S))
   Saline Lodging Group, LLC
   1213 Industrial Rd.
   c/o Bethann Rentschler
   Saline, MI 48176
Social Security No.:

Employer's Tax I.D. No.:
  82−2073957

                             NOTICE OF CONFIRMATION AND OPPORTUNITY
                               TO OBJECT TO THE CLOSING OF THE CASE



To the Creditors of the above−named Debtor:



NOTICE IS HEREBY GIVEN that the Plan of Reorganization filed on July 20, 2022 was confirmed on 7/22/22 .

The Court will find that the estate has been fully administered and will enter a final decree closing the case in 60 days
unless, within that time, an objection is filed. If an objection is filed, it will be set for hearing.

If the closing is delayed past this time period for any reason, the burden will be on the debtor's counsel to file a
motion for entry of the final decree and closing of the case pursuant to Bankruptcy Rule 3022 so that
unnecessary U.S. Trustee fees will not accrue.


Dated: 7/25/22

                                                             BY THE COURT


                                                             Todd M. Stickle , Clerk of Court
                                                             UNITED STATES BANKRUPTCY COURT




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                                                              United States Bankruptcy Court
                                                               Eastern District of Michigan
In re:                                                                                                                 Case No. 21-47210-mlo
Saline Lodging Group, LLC                                                                                              Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0645-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jul 25, 2022                                               Form ID: ntcconfp                                                         Total Noticed: 22
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 27, 2022:
Recip ID                 Recipient Name and Address
dbpos                  + Saline Lodging Group, LLC, 1213 Industrial Rd., c/o Bethann Rentschler, Saline, MI 48176-9434
27070805               + Ann Arbor Fabrication, Inc., 8150 Jackson Rd., Ann Arbor, MI 48103-9569
27070806               + Chelsea Lumber Company, c/o Ian James Reach, Reach Law Firm, 106 N. 4th Ave., Ann Arbor, MI 48104-1402
27117819               + Chelsea Lumber Company, c/o Ian James Reach, 117 N. First St. Suite 103, Ann Arbor, MI 48104-1354
27070807               + City of Saline, 100 North Harris St., Saline, MI 48176-1642
27070808               + DN Higgins, 3390 Travis Pointe Rd. A, Ann Arbor, MI 48108-5925
27070810               + Elizabeth Hauessler, 108 E. Henry #811, Saline, MI 48176-1754
27070809               + General Shale Brick Inc., 6556 Whitmore Lake Rd., Whitmore Lake, MI 48189-9257
27070812               + Hoffman Plastering, LLC, c/or Geoffrey Silvermann, 32300 Northwestern Hwy. 200, Farmington, MI 48334-1501
27070813               + IVS Comm, 750 Junction St., Plymouth, MI 48170-1228
27070815               + Lenawee Construction Consultants, LLC, 17149 Raymond Rd., Addison, MI 49220-9768
27070811               + Michelle Hauessler, 229 Williams St., Saline, MI 48176-1549
27070816               + Midwestern Consultanting, 3815 Plaza Dr., Ann Arbor, MI 48108-1655
27070817               + Northstar Pools, LLC, 1042 Benstein Rd. 101, Walled Lake, MI 48390-2914
27070818               + Otis Elevator Company, 100 E. Michigan Ave. Room LL, Jackson, MI 49201-1498
27070819               + Quality Roofing, Inc., c/o Geoffrey Silvermann, 32300 Northwestern Hwy. 200, Farmington, MI 48334-1501
27070820               + Sauk Trail Storage, LLC, 9190 W. Michigan Ave., Saline, MI 48176-9618
27070821               + Tri-County Electrict Group, c/o John Kline, Kline Legal Group, 483 Little Lake Dr. 200, Ann Arbor, MI 48103-6221
27178158                 U.S. Bank N.A. dba Elan Financial Services, Bankruptcy Department, PO Box 108, Saint Louis, MO 63166-0108
27070822               + UPCO Waste Services, 4900 McCarthy, Milford, MI 48381-3945
27120506               + Washtenaw County Treasurer, 200 N Main St, Suite 200, Ann Arbor, MI 48104-1413
27176140               + Your Enterprise Solutions, LLC, Geoffrey L. Silverman, Esq., Finkel Whitefield Feldman, 32300 Northwestern Highway, Suite 200,
                         Farmington Hills, MI 48334-1501

TOTAL: 22

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Andrew R. Vara
27070823                       Washte
27070814         ##+           Mark Kuykendall, 108 E. Henry #808, Saline, MI 48176-1754

TOTAL: 2 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and



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District/off: 0645-2                                              User: admin                                                            Page 2 of 2
Date Rcvd: Jul 25, 2022                                           Form ID: ntcconfp                                                    Total Noticed: 22

belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 27, 2022                                        Signature:          /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 22, 2022 at the address(es) listed below:
Name                             Email Address
Deborah L. Fish
                                 dfish@allardfishpc.com MI56@ecfcbis.com

Donald C. Darnell
                                 on behalf of Debtor In Possession Saline Lodging Group LLC dondarnell@darnell-law.com

Donald C. Darnell
                                 on behalf of Creditor Tri-County Electric Company of Washtenaw County dondarnell@darnell-law.com

Geoffrey L. Silverman
                                 on behalf of Plaintiff Your Enterprise Solutions LLC gsilverman@fwf-law.com, shill@fwslaw.com

Geoffrey L. Silverman
                                 on behalf of Creditor Your Enterprise Solutions L.L.C. gsilverman@fwf-law.com, shill@fwslaw.com

Leslie K. Berg (UST)
                                 on behalf of U.S. Trustee Andrew R. Vara Leslie.K.Berg@usdoj.gov

Mark H. Shapiro
                                 on behalf of Creditor Tri-County Electric Company of Washtenaw County shapiro@steinbergshapiro.com
                                 jbrown@steinbergshapiro.com

Mark H. Shapiro
                                 on behalf of Defendant Tri-County Electric Company of Washtenaw County shapiro@steinbergshapiro.com
                                 jbrown@steinbergshapiro.com

Melinda B. Oviatt
                                 on behalf of Plaintiff Your Enterprise Solutions LLC moviatt@fwf-law.com

Melinda B. Oviatt
                                 on behalf of Creditor Your Enterprise Solutions L.L.C. moviatt@fwf-law.com


TOTAL: 10




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